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                                                                    Exhibit 3
                                         P. Mot. for Summ. J./D. Resp. to RFA Set 1

                                           Court: S.D. Ill. Case No. 3:21cv540-NJR
                                                                   Pacific Legal Foundation
                                                               555 Capitol Mall, Suite 1290
                                                       Sacramento CA 95814 – 916.419.7111
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


 SCOTT WYNN, an individual,

                 Plaintiff,

 v.                                                 No. 3:21–cv–00514–MMH–JRK

 THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture,
 et al.,

                 Defendants.


      DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S REQUESTS FOR

                  ADMISSIONS, SET ONE (as supplemented October 6, 2021)

         Pursuant to Federal Rules of Civil Procedure 26 and 36, Defendants Thomas J. Vilsack,

et al., by and through their undersigned counsel, hereby respond to Plaintiff’s Requests for

Admissions, Set One:

         Defendants’ objections and responses are based on information known to Defendants at

this time, and are made without prejudice to additional objections should Defendants

subsequently identify additional grounds for objection. The information submitted herewith is

being provided in accordance with the Federal Rules of Civil Procedure, which generally permit

the discovery of matters not privileged that are relevant to the claims or defenses in this civil

action, and that is proportional to the reasonable needs of the case. Fed. R. Civ. P. 26(b)(1).

Accordingly, Defendants do not, by providing such information, waive any objection to its

admissibility on the grounds of relevance, proportionality, accessibility, materiality, or any other

appropriate ground.
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                                           RESPONSES

Request for Admission No. 1: Admit that a farmer who has never suffered racial discrimination

could still be considered “socially disadvantaged” under Section 1005.

Response:      Defendants object to this request on the ground that the phrase “suffered racial

discrimination” is ambiguous. Without waiver of the foregoing objection, Defendants admit that

the only qualification to be a socially disadvantaged farmer or rancher is to be “a farmer or

rancher who is a member of a socially disadvantaged group,” meaning a group “whose members

have been subjected to racial or ethnic prejudice because of their identity as members of a group

without regard to their individual qualities.” 7 U.S.C. § 2279(a)(5), (6).

Supplemental Response:         Defendants agree, in response to Plaintiff’s request in its

September 20, 2021 letter, to construe the term “suffered racial discrimination” to mean “was

discriminated against by USDA on the basis of race.” So construed, Defendants add to the above

the following objections. Whether USDA has, in fact, discriminated against a farmer who is

considered “socially disadvantaged” under Section 1005 is irrelevant and thus beyond the scope

of Federal Rule of Civil Procedure 36(a) (incorporating Rule 26(b)(1)). Instead, the Government

need have only a strong basis in evidence for its conclusion that discrimination occurred such

that remedial action was necessary. And, in seeking to eradicate the effects the racial

discrimination, the Government may enact reasonable race-conscious relief that benefits

individuals who were not actual victims of discrimination. Without waiving any of the foregoing

objections, Defendants maintain their initial responses to RFA No. 1.
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Request for Admission No. 2: Admit that a farmer who has never suffered racial discrimination

could still obtain debt relief under Section 1005 if that farmer were a member of a socially

disadvantaged group.

Response:      Defendants object to this request on the ground that the phrase “suffered racial

discrimination” is ambiguous. Without waiver of the foregoing objection, Defendants admit that

Section 1005 debt relief is available only to socially disadvantaged farmers and ranchers.

Defendants further admit that the only qualification to be a socially disadvantaged farmer or

rancher is to be “a farmer or rancher who is a member of a socially disadvantaged group,”

meaning a group “whose members have been subjected to racial or ethnic prejudice because of

their identity as members of a group without regard to their individual qualities.” 7 U.S.C.

§ 2279(a)(5), (6).

Supplemental Response:        Defendants agree, in response to Plaintiff’s request in its

September 20, 2021 letter, to construe the term “suffered racial discrimination” to mean “was

discriminated against by USDA on the basis of race.” So construed, Defendants add to the above

the following objections. Whether USDA has, in fact, discriminated against a farmer who is

considered “socially disadvantaged” under Section 1005 is irrelevant and thus beyond the scope

of Federal Rule of Civil Procedure 36(a) (incorporating Rule 26(b)(1)). Instead, the Government

need have only a strong basis in evidence for its conclusion that discrimination occurred such

that remedial action was necessary. And, in seeking to eradicate the effects the racial

discrimination, the Government may enact reasonable race-conscious relief that benefits

individuals who were not actual victims of discrimination. Without waiving any of the foregoing

objections, Defendants maintain their initial responses to RFA No. 2.
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Request for Admission No. 3: Admit that not every farmer who is a member of a socially

disadvantaged group has suffered racial discrimination.

Response:      Defendants object to this request on the grounds that the phrase “suffered racial

discrimination” is ambiguous. Without waiver of the foregoing objection, Defendants lack

sufficient information to admit or deny that not every farmer who is a member of a socially

disadvantaged group has suffered racial discrimination.

Supplemental Response:        Defendants agree, in response to Plaintiff’s request in its

September 20, 2021 letter, to construe the term “suffered racial discrimination” to mean “was

discriminated against by USDA on the basis of race.” So construed, Defendants add to the above

the following objections. Whether USDA has, in fact, discriminated against a farmer who is

considered “socially disadvantaged” under Section 1005 is irrelevant and thus beyond the scope

of Federal Rule of Civil Procedure 36(a) (incorporating Rule 26(b)(1)). Instead, the Government

need have only a strong basis in evidence for its conclusion that discrimination occurred such

that remedial action was necessary. And, in seeking to eradicate the effects the racial

discrimination, the Government may enact reasonable race-conscious relief that benefits

individuals who were not actual victims of discrimination. Without waiving any of the foregoing

objections, Defendants admit that not every farmer who is a member of a socially disadvantaged

group was discriminated against by USDA on the basis of race.



Request for Admission No. 4: Admit that USDA has entered into settlements with minority

farmers as a fair and equitable remedy for past racial discrimination by the USDA.

Response:      Defendant objects to the vagueness of the phrasing “as a fair and equitable

remedy for past racial discrimination.” Without waiver of the foregoing objection, Defendants
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admit that the Government has settled race discrimination claims against USDA. See, e.g.,

Pigford v. Glickman, 185 F.R.D. 82 (D.D.C. 1999).



Request for Admission No. 5: Admit that a farmer who is a member of a socially disadvantaged

group could obtain debt relief under Section 1005 even if that farmer had already been

compensated by the USDA through a prior settlement.

Response:      Defendant objects to the vagueness of the phrase “had already been compensated

through a prior settlement.” Without waiver of the foregoing objection, Defendant admits an

otherwise eligible farmer who received some form of settlement consideration by USDA for

discrimination in a prior settlement agreement would not be precluded from qualifying for

Section 1005 debt relief.



Request for Admission No. 6: Admit that white farmers (who are not Hispanic or Latino) have

never been considered “socially disadvantaged” on the basis of their race in any program

administered by USDA.

Response:      Defendants object to the vagueness of the phrase “any program administered by

the USDA.” Without waiver of the foregoing objection, Defendants admit that white farmers

(who are not Hispanic or Latino) have never been considered “socially disadvantaged” on the

basis of their race in any program administered by FSA.

Supplemental Response:       To the above, Defendants add the following objections. Whether

white farmers, as defined in RFA No. 6, have been considered “socially disadvantaged” for

purposes of non-FSA programs, is irrelevant to Plaintiff’s claims, which challenge only USDA’s

designation of Socially Disadvantaged Groups (“SDGs”) for purposes of implementing Section
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1005, and Defendants’ defenses, which largely rely on a strong basis in evidence of racial

discrimination within FSA programs. See Fed. R. Civ. P. 36(a) (incorporating Rule 26(b)(1)).

Without waiving these objections, Defendants admit that white farmers (who are not Hispanic or

Latino) have never been considered “socially disadvantaged” on the basis of their race in any

program administered by USDA.



Request for Admission No. 7: Admit that female farmers have suffered discrimination on the

basis of sex.

Response:       Defendants object to this request on the ground that the phrase “suffered

discrimination on the basis of sex” is ambiguous. Without waiver of the foregoing objections,

Defendants lack sufficient information to admit or deny that all female farmers have suffered

discrimination on the basis of sex.

Supplemental Response:         Defendants agree, in response to Plaintiff’s request in its

September 20, 2021 letter, to construe the term “suffered discrimination on the basis of sex” to

mean “was discriminated against by USDA on the basis of sex” and to construe “female

farmers” as “some female farmers.” So construed, Defendants add to the above the following

objections. Whether USDA has discriminated against some number of female farmers on the

basis of sex is irrelevant to Plaintiff’s claims that USDA has engaged in racial discrimination in

implementing Section 1005, and Defendants’ defenses, which largely rely on a strong basis in

evidence of racial discrimination within FSA programs. Moreover, whether USDA has

discriminated against some number of female farmers is irrelevant to whether female farmers

should have been included in the SDGs under Section 1005. Without waiving any of the
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foregoing objections, Defendants admit that some female farmers have been discriminated

against by USDA on the basis of sex.



Request for Admission No. 8: Admit that female farmers have been considered socially

disadvantaged on the basis of sex for purposes of other programs administered by USDA.

Response:      Defendants object that the phrase “other programs” is ambiguous and will

interpret it to mean “one or more program other than Section 1005.” Without waiver of the

foregoing objection, Defendants admit that female farmers have been considered socially

disadvantaged on the basis of their sex for some other USDA programs.



Request for Admission No. 9: Admit that female farmers are not socially disadvantaged (on the

basis of their sex) for purposes of Section 1005.

Response:      Defendants object to the Request as exceeding the scope of Federal Rule of Civil

Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the meaning

of ARPA Section 1005, rather than “the application of law to fact” or an opinion concerning

such an application. Without waiver of the foregoing objection, Defendants admit that the only

qualification to be a socially disadvantaged farmer or rancher is to be “a farmer or rancher who is

a member of a socially disadvantaged group,” meaning a group “whose members have been

subjected to racial or ethnic prejudice because of their identity as members of a group without

regard to their individual qualities.” 7 U.S.C. § 2279(a)(5), (6).

Supplemental Response:         In Plaintiff’s September 20, 2021 letter, Plaintiff revised his

request to include the following italicized text: “Admit that USDA and FSA do not consider

female farmers to be socially disadvantaged for purposes of Section 1005 on the basis of their
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sex (i.e., apart from their race).” Without waiving any of the foregoing objections, Defendants

further admit that, apart from their belonging in the SDA categories referred to in the May 26,

2021 Notice of Funds Availability (“NOFA”), female farmers are not one of the groups listed as

socially disadvantaged.



Request for Admission No. 10: Admit that race (including ethnicity) is the only relevant

consideration in determining whether a farmer is socially disadvantaged for purposes of Section

1005.

Response:      Defendants object to the Request as exceeding the scope of Federal Rule of Civil

Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the meaning

of ARPA Section 1005, rather than “the application of law to fact” or an opinion concerning

such an application. Without waiver of the foregoing objection, Defendants admit that the only

qualification to be a socially disadvantaged farmer or rancher is to be “a farmer or rancher who is

a member of a socially disadvantaged group,” meaning a group “whose members have been

subjected to racial or ethnic prejudice because of their identity as members of a group without

regard to their individual qualities.” 7 U.S.C. § 2279(a)(5), (6).



Request for Admission No. 11: Admit that whether a farmer has suffered economic losses due to

the Coronavirus pandemic is irrelevant to whether that farmer is considered socially

disadvantaged under Section 1005.

Response:      Defendants object to the Request as exceeding the scope of Federal Rule of Civil

Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the meaning

of ARPA Section 1005, rather than “the application of law to fact” or an opinion concerning
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 such an application. Although Congress established Section 1005 in part in light of the

 disproportionate impact of the Coronavirus pandemic on farmers of certain racial and ethnic

 groups and the disproportionately small share of past pandemic relief received by those farmers,

 without waiver of the foregoing objection, Defendants admit that the only qualification to be a

 socially disadvantaged farmer or rancher is to be “a farmer or rancher who is a member of a

 socially disadvantaged group,” meaning a group “whose members have been subjected to racial

 or ethnic prejudice because of their identity as members of a group without regard to their

 individual qualities.” Id. §§ 2279(a)(5) & (a)(6).



 Request for Admission No. 12: Admit that for purposes of Section 1005, the Secretary of

 Agriculture can only grant requests for racial or ethnic groups to be recognized as socially

 disadvantaged.

 Response:        Defendants object to the Request as exceeding the scope of Federal Rule of Civil

 Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the

 authority of the Secretary of Agriculture, rather than “the application of law to fact” or an

 opinion concerning such an application. Without waiver of the foregoing objection, Defendants

 admit that “[t]he Secretary of Agriculture will determine on a case-by-case basis” and “in

 response to a written request with supporting explanation” whether a group will “qualify under

 th[e] definition” in 7 U.S.C. § 2279(a)(6), Notice of Funds Availability; American Rescue Plan

 Act of 2021 Section 1005 Loan Payment (ARPA), 86 Fed. Reg. 28,329, 28,330 (May 26, 2021),

 which is limited to “group[s] whose members have been subjected to racial or ethnic prejudice

 because of their identity as members of a group without regard to their individual qualities,” 7

 U.S.C. § 2279(a)(6).
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 Request for Admission No. 13: Admit that USDA has never implemented a debt relief program

 that hinges eligibility for debt relief on the size, cost, or value of a farmer’s farm.

 Response: Defendants object to this request on the grounds that the phrases “debt relief program”

 and “hinges eligibility” are as ambiguous. For the purposes of this response only, Defendants

 will interpret the former term as meaning “a program that decreases, through direct payment or

 other means, all or a portion of a recipient’s outstanding debt” and the latter term as meaning the

 necessary criteria for eligibility for USDA debt relief programs. Without waiver of the foregoing

 objection, denied.



 Request for Admission No. 14: Admit that USDA has never implemented a debt relief program

 that hinges eligibility for debt relief on economic losses that a farmer has suffered as a result of

 the COVID-19 pandemic.

 Response:       Defendants object to this request on the grounds that the phrases “debt relief

 program” and “hinges eligibility” are ambiguous. For the purposes of this response only,

 Defendants will interpret the former term as meaning “a program that decreases, through direct

 payment or other means, all or a portion of a recipient’s outstanding debt” and the latter term as

 meaning the necessary criteria for eligibility for USDA debt relief programs. Although Congress

 established Section 1005 in light of the disproportionate impact of the Coronavirus pandemic on

 farmers of certain racial and ethnic groups and the disproportionately small share of pandemic

 relief received by those farmers, without waiver of the foregoing objections, Defendants admit

 that there is no debt relief program for which the necessary criteria is showing economic losses

 as a result of the COVID-19 pandemic.
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 Request for Admission No. 15: Admit that USDA has never implemented a debt relief program

 that hinges eligibility for debt relief on the type of crops grown or livestock raised by a farmer.

 Response:      Defendants object to this request on the grounds that the phrases “debt relief

 program” and “hinges eligibility” are as ambiguous. For the purposes of this response only,

 Defendants will interpret the former term as meaning “a program that decreases, through direct

 payment or other means, all or a portion of a recipient’s outstanding debt” and the latter term as

 meaning the necessary criteria for eligibility for USDA debt relief programs. Without waiver of

 the foregoing objections, admitted.



 Request for Admission No. 16: Admit that a “socially disadvantaged” farmer with a qualifying

 farm loan that had an outstanding loan balance as of January 1, 2021 qualifies for debt

 forgiveness under Section 1005 regardless of the size of the loan.

 Response:      Defendants object to the Request as exceeding the scope of Federal Rule of Civil

 Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the meaning

 of ARPA Section 1005, rather than “the application of law to fact” or an opinion concerning

 such an application. Defendants further object that the term “debt forgiveness” is ambiguous and

 does not accurately characterize Section 1005. Defendants will interpret the phrase to mean

 “farm loan assistance” as provided by Section 1005 (“Farm Loan Assistance for Socially

 Disadvantaged Farmers”). Finally, Defendants object to the phrase “regardless of the size of the

 size of the loan” because Section 1005 applies only to USDA direct or guaranteed loans, the size

 and terms of which are governed by applicable statutes and regulations. Without waiver of the

 foregoing objections, Defendants admit that Section 1005 appropriates funds to provide “a
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 payment in an amount up to 120 percent of the outstanding indebtedness of each socially

 disadvantaged farmer or rancher as of January 1, 2021.”



 Request for Admission No. 17: Admit that a “socially disadvantaged” farmer with a qualifying

 farm loan that had an outstanding loan balance as of January 1, 2021 qualifies for debt relief

 under Section 1005 regardless of whether the farmer was current on his or her loan payments.

 Response:      Defendants object to the Request as exceeding the scope of Federal Rule of Civil

 Procedure 36(a)(1) on the ground that it requests a purely legal conclusion regarding the meaning

 of ARPA Section 1005, rather than “the application of law to fact” or an opinion concerning

 such an application. Without waiver of the foregoing objection, Defendants admit that Section

 1005 appropriates funds to provide “a payment in an amount up to 120 percent of the outstanding

 indebtedness of each socially disadvantaged farmer or rancher as of January 1, 2021.



 Request for Admission No. 18: Admit that USDA lists five racial groups (“American Indian /

 Alaskan Native,” “Native Hawaiian/Other Pacific Islander,” “Asian,” “White,” and

 “Black/African American”) and two ethnicities (“Hispanic or Latino” and “Not Hispanic or

 Latino”) on the “Demographic Information” portion of Form AD-2047.

 Response:      Admitted.



 Request for Admission No. 19: Admit that of the racial/ethnic combinations on Form AD-2047,

 White and Non-Hispanic is the only group that has not been recognized as socially

 disadvantaged for purposes of Section 1005.

 Response:      Admitted.
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 Request for Admission No. 20: Admit that USDA does not currently recognize any additional

 racial or ethnic groups beyond the ones listed in its Form AD-2047.

 Response:      Defendant objects to the phrase “recognizes . . . racial or ethnic groups” as

 ambiguous because racial and ethnic groups are recognized in different contexts and for different

 purposes. Defendants will respond to this request for admission when Plaintiff specifies the

 context and purpose he intends in this request.

 Supplemental Response:        In his September 20, 2021 letter, Plaintiff asks Defendants to

 “constru[e] the term ‘recognizes’ to mean ‘for any governmental purpose, expressly

 differentiates, distinguishes, or based any determination upon—including but not limited to

 determining eligibility for loan forgiveness under Section 1005.” Pl.’s Resp. Letter 3.

 Defendants object that it is irrelevant whether USDA currently recognizes additional racial or

 ethnic groups beyond the ones listed in its Form AD-2047 for any governmental purpose.

 Plaintiff challenges only USDA’s implementation of Section 1005 of ARPA. This request is

 thus beyond the scope of Federal Rule of Civil Procedure 36(a) (incorporating Rule 26(b)(1)).

        Without waiving those objections, Defendants agree construe the term “recognizes” to

 mean “for the purpose of determining eligibility for debt relief under Section 1005, expressly

 differentiates, distinguishes, or bases any determination upon” and respond as follows:

 Defendants admit that for the purpose of determining eligibility for debt relief under Section

 1005, Defendants do not currently recognize any additional racial or ethnic groups beyond the

 ones listed in its Form AD-2047.
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 Request for Admission No. 21: Admit that USDA currently recognizes additional racial or ethnic

 groups beyond the ones listed in its Form AD-2047.

 Response:      Defendant objects to the phrase “recognizes . . . racial or ethnic groups” as

 ambiguous because racial and ethnic groups are recognized in different contexts and for different

 purposes. Defendants will respond to this interrogatory when Plaintiff specifies the context and

 purpose he intends in this request.

 Supplemental Response:         In his September 20, 2021 letter, Plaintiff asks Defendants to

 “constru[e] the term ‘recognizes’ to mean ‘for any governmental purpose, expressly

 differentiates, distinguishes, or based any determination upon—including but not limited to

 determining eligibility for loan forgiveness under Section 1005.” Pl.’s Resp. Letter 3.

 Defendants object that it is irrelevant whether USDA currently recognizes additional racial or

 ethnic groups beyond the ones listed in its Form AD-2047 for any governmental purpose.

 Plaintiff challenges only USDA’s implementation of Section 1005 of ARPA. This request is

 thus beyond the scope of Federal Rule of Civil Procedure 36(a) (incorporating Rule 26(b)(1)).

 Without waiving those objections, Defendants agree construe the term “recognizes” to mean “for

 the purpose of determining eligibility for debt relief under Section 1005, expressly differentiates,

 distinguishes, or bases any determination upon” and respond as follows: Defendants deny that,

 for the purpose of determining eligibility for debt relief under Section 1005, they currently

 recognize any additional racial or ethnic groups beyond the ones listed in its Form AD-2047.



  Dated: October 6, 2021               Signed,

                                       BRIAN M. BOYNTON
                                       Acting Assistant Attorney General

                                       LESLEY FARBY
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                              Assistant Branch Director
                              Civil Division, Federal Programs Branch

                              /s/ Emily Sue Newton
                              EMILY SUE NEWTON (VA Bar No. 80745)
                              Senior Trial Counsel
                              KYLA M. SNOW (Ohio Bar No. 96662)
                              MICHAEL F. KNAPP (Cal. Bar No. 314104)
                              Trial Attorneys
                              United States Department of Justice
                              Civil Division, Federal Programs Branch
                              1100 L Street, NW
                              Washington, D.C. 20005
                              Tel: (202) 305-8356 / Fax: (202) 616-8460
                              emily.s.newton@usdoj.gov


                              Counsel for Defendants
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Defendants’ Objections and Responses to Plaintiff’s

 Requests for Admissions, Set One (as supplemented October 6, 2021) was served on counsel for

 Plaintiff via email on October 6, 2021.

                                                                              /s/ Kyla M. Snow
                                                                              KYLA M. SNOW
